                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________
TERRILL BARNES, CURTIS PIGGEE,
A.T.A., by his mother and guardian Michelle Thomas-Acosta,
And T.J.T., by and through his mother and guardian Safrauyna Pulley,

                  Plaintiffs,
v.                                              Case No. 17-cv-355-pp

MILWAUKEE COUNTY, DAVID A. CLARKE, JR.,
RICHARD SCHMIDT, KEVIN NYKLEWICZ, SCOTT SOBEK,
JEFFREY ANDRYKOWSKI, JOSHUA BRIGGS,
STEVEN HAW, KASHKA MEADORS,
DEVONTA TOWNES, RAFAEL BRITO,
MATTHEW CARROLL, LECARLIN COLLINS, BRIAN DRAGOO,
ANTHONY EMANUELE, JORDON JOHNSON, THOMAS LAINE,
DAVID LEDGER, JOSHUA LEGERE, DEVIN O’DONNELL,
JAMES RAMSEY-GUY, DECORIE SMITH, DOMINIQUE SMITH,
JOHN WEBER, ARMOR CORRECTIONAL HEALTH SERVICES, INC.,
KAREN HORTON, KAREN GRAY, DEBORAH MAYO, and AMANDA OCACIO,

                      Defendants.
______________________________________________________________________________
ESTATE OF TERRIL J. THOMAS,
by and through its special administrator Robert Rondini,

                  Plaintiff,

and

MILWAUKEE COUNTY,

                  Third-Party Plaintiff,
v.                                              Case No. 17-cv-1128-pp

MILWAUKEE COUNTY, DAVID A. CLARKE, JR.,
NANCY EVANS, KEVIN NYKLEWICZ, SCOTT SOBEK,
JEFFREY ANDRYKOWSKI, LT. JOSHUA BRIGGS,
STEVEN HAW, KASHKA MEADORS,
DEVONTA TOWNES, RAFAEL BRITO,
MATTHEW CARROLL, LECARLIN COLLINS, BRIAN DRAGOO,
ANTHONY EMANUELE, JORDON JOHNSON, THOMAS LAINE,
DAVID LEDGER, JOSHUA LEGERE, DEVIN O’DONNELL,
JAMES RAMSEY-GUY, DECORIE SMITH, DOMINIQUE SMITH,
JOHN WEBER, ARMOR CORRECTIONAL HEALTH SERVICES, INC.,
KAREN HORTON, KAREN GRAY, DEBORAH MAYO, and AMANDA OCACIO,

                       Defendants.

and

WISCONSIN COUNTY MUTUAL INSURANCE COMPANY,


               Third-Party Defendant.
______________________________________________________________________________
 FEDERAL RULES OF CIVIL PROCEDURE 41(a)(1)(A)(ii) AND CIVIL LOCAL RULE
                       41 STIPULATION OF DISMISSAL

IT IS HEREBY STIPULATED AND AGREED by the Plaintiffs, Estate of Terrill J. Thomas,

Terrill Barnes (N/K/A Terrill Thomas Jr.), Curtis Piggee, A.T.A. by his mother and guardian

Michelle Acosta, and T.J.T. by his mother and guardian Safranya Pulley; Third Party Plaintiff,

Milwaukee County; Third Party Defendant, Wisconsin County Mutual Insurance Company; and

the Defendants, Milwaukee County, David A. Clarke Jr., Richard E. Schmidt, Nancy Evans, Kevin

Nyklewicz, Scott Sobek, Jeffrey Andrykowski, Joshua Briggs, Steven Haw, Kashka Meadors,

Devonta Townes, Rafael Brito, Matthew Carroll, LeCarlin Collins, Brian Dragoo, Anthony

Emanuele, JorDon Johnson, Thomas Laine, David Ledger, Joshua Legere, Devin O’Donnell,

James Ramsey-Guy, DeCorie Smith, Dominique Smith, John Weber, Armor Correctional Health

Services Inc., Karen Horton, Karen Gray, Amanda Ocacio, and Deborah Mayo, through their

respective attorneys, that all of the Plaintiffs’ and Third Party Plaintiff’s claims, cross-claims,

counter claims, actions for Declaratory Judgment, and causes of action in this case may be

dismissed upon the merits, with prejudice and without costs or further notice to any of the parties.
Dated this 10th day of May 2019.
                                     BUDGE & HEIPT PLLC and
                                     FIRST, ALBRECHT & BLONDIS, SC
                                     Attorneys for the Plaintiff, The Estate of
                                     Terrill J. Thomas, by and through its Special
                                     Administrator Robert Rondini

                                     By:    /s/James P. End
                                            James P. End
                                            WI State Bar No. 1032307
                                            Lawrence G. Albrecht
                                            Alexa C. Bradley
                                            Edwin S. Budge
                                            Erik J. Heipt
                                            Hank Balson



Dated this 10th day of April 2019.
                                     WALTER W. STERN AND ASSOCIATES
                                     Attorney for Plaintiffs, Terrill Barnes (N/K/A
                                     Terrill Thomas Jr.), Curtis Piggee, A.T.A.,
                                     and T.J.T.

                                     By:    /s/Walter W. Stern, III
                                            Walter W. Stern, III
                                            WI State Bar No. 1014060




Dated this 11th day of April 2019.
                                     WINSTON & STRAWN, LLP
                                     Attorneys for Third Party           Plaintiff,
                                     Milwaukee County

                                     By:    /s/Dan K. Webb
                                            Dan K. Webb
                                            IL State Bar No. 2954087
                                            Robert L. Michels
Dated this 9th day of April 2019.
                                    HUSCH BLACKWELL, LLP
                                    Attorneys for Defendants, Milwaukee
                                    County, David A. Clarke Jr., Richard E.
                                    Schmidt, Joshua      Briggs, Rafael Brito,
                                    Matthew Carroll, LeCarlin Collins, Brian
                                    Dragoo, Anthony Emanuele, Steven Haw,
                                    David Legere, Devin O’Donnell, DeCorie
                                    Smith, Scott Sobek, and Devonta Townes

                                    By:    /s/Timothy H. Posnanski
                                           Timothy H. Posnanski
                                           WI State Bar No. 1056668
                                           Anthony J. Anzelmo
                                           David B. Carr

Dated this 10th day of May 2019.
                                    MWH LAW GROUP, LLP
                                    Attorneys for Defendant, Armor Correctional
                                    Health Services, Inc.

                                    By:    /s/Emery K. Harlan
                                           Eric L. Andrews
                                           WI State Bar No. 1068550
                                           Emery K. Harlan
                                           Carlos R. Pastrana




Dated this 9th day of April 2019.
                                    LEIB KNOTT GAYNOR, LLC
                                    Attorneys for Defendants, Kevin Nyklewicz
                                    and Nancy Evans

                                    By:    /s/Douglas S. Knott
                                           Douglas S. Knott
                                           WI State Bar No. 1001500
                                           Cory J. Brewer
                                           Brent Adam Simerson
                                           Trevor C. Leverson
Dated this 9th day of April 2019.
                                     GRADY HAYES & NEARY, LLC
                                     Attorney for Defendant, Kashka Meadors

                                     By:   /s/Thomas James Donnelly
                                           Thomas James Donnelly
                                           WI State Bar No. 1020867




Dated this 9th day of April 2019.
                                     CRIVELLO CARLSON, SC
                                     Attorneys for Defendants, JorDon Johnson,
                                     Thomas Laine, James Ramsey-Guy, and
                                     Dominique Smith

                                     By:   /s/Samuel C. Hall Jr.
                                           Samuel C. Hall Jr.
                                           WI State Bar No. 1045476
                                           Benjamin A. Sparks
                                           Sara C. Mills



Dated this 12th day of April 2019.
                                     EMILE BANKS & ASSOCIATES LLC
                                     Attorneys   for    Defendants, Jeffrey
                                     Andrykowski and John Weber

                                     By:   /s/Emile H. Banks Jr.
                                           Emile H. Banks Jr.
                                           WI State Bar No. 1018890
                                           Vicki L. Arrowood


Dated this 4th day of April 2019.
                                     OTGEN,      GENDELMAN,    ZITZER,
                                     JOHNSON & WEIR, S.C. Attorneys for
                                     Defendant Karen Horton

                                     By:   /s/Lori Gendelman
                                           Lori Gendelman
                                           WI State Bar No. 1005633
Dated this 11th day of April 2019.
                                     BOLLINGER, CONNOLLY, KRAUSE,
                                     LLC
                                     Attorneys for Defendant, Karen Gray

                                     By:   /s/Christopher Michael Miller
                                           Christopher Michael Miller
                                           IL State Bar No. 6321129
                                           Michael D. Krause
                                           Robert S. Tengesdal

Dated this 25th day of April 2019.
                                     CASSIDAY SCHADE, LLP
                                     Attorney for Defendant, Deborah Mayo

                                     By:   /s/John J. Reid
                                           John J. Reid
                                           WI State Bar No. 1057458


Dated this 12th day of April 2019.
                                     CUNNINGHAM, MEYER, & VEDRINE,
                                     PC
                                     Attorney for Defendant, Amanda Ocacio

                                     By:   /s/Michael R. Slovis
                                           Michael R. Slovis
                                           IL State Bar No.
Dated this 11th day of April 2019.
                                     AXLEY BRYNELSON, LLP
                                     Attorneys for Third Party Defendant,
                                     Wisconsin County Mutual Insurance
                                     Company

                                     By:   /s/Lori M. Lubinsky
                                           Lori M. Lubinsky
                                           WI State Bar No. 1027575
                                           Jennifer M. Luther
